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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

JUAN MALDONADO,
Plaintiff,
Vv. CASE NO. 6:18-cv-2095-Orl-28DCI

GOLDEN SAJ, LLC, dib/a Days Inn,

Defendant.

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SETTLEMENT AGREEMENT AND RELEASE OF ci ATMS UNDER THE FAIR
LABOR STANDARDS ACT OF 1938, 29 : C

 

THIS SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS UNDER THE FAIR
LABOR STANDARDS ACT (“Agreement”) is made by and between JUAN MALDONADO
(“Plaintiff’) and GOLDEN SAJ, LLC (“Defendant”) as follows:

WHEREAS, Plaintiff through the above-referenced case alleged unpaid overtime
compensation was duc to him pursuant to the Fair Labor Standards Act (‘FLSA”).

WHEREAS. Defendant denies liability and/or any other wrongdoing with respect to
Plaintitt:

WHEREAS. Plaintiff and Defendant wish to avoid litigation and settle and resolve the
controversy between them amicably and expeditiously;

NOW, THEREFORE, in consideration of the mutual covenants set forth herein and other
good and valuable consideration, the receipt und sufficiency of which are hereby acknowledged,
it is hereby

STIPULATED AND AGREED by and between the undersigned parties that the above-

entitled matter is hereby resulved as follows:
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4, RECITALS. The foregoing recitals are true and correct and are incorporated
herein by this reference.
2. RELEASE OF FLSA CLAIMS.

a. This Avreement shall constitute a release of all claims Plaintiff might have
under the FLSA against Defendant.

b. Upon execution of this Agreement. the parties shall immediately file a
Joint Motion for Approval of Settlement and Dismissal of this case, with prejudice.

c. Plaintiff hercby knowingly and voluntarily releases and forever discharges
Defendant, its owners. officers, directors, shareholders, members, employees, agents, insurers,
parent corporations, predecessors, successors, assigns, subsidiaries, affiliates, and insurers, and
their past, present and future directors, owners, officers, cmployces, agents, msurers and assigns,
and attorneys, both individually and in their capacities as dircetors, officers, shareholders,
members, employees, agents, insurers and attomeys (collectively “Releasees") of and from any
and all claims under the FLSA against any of the Releasees which Plaintiff has or might have as
of the date of the execution of this Agreement.

d. Medicare Secondary Payer, Maldonado affirms that as of the date he
signs this Agreement, he is not Medicare eligible (i.e., is not is bot 65 years of age or older; is not
suffering from end. stage renal failure; has not reccived Social Security Disability Insurance
benefits for 24 months or longer, cte.), Nonetheless, if the Centers for Medicare & Medicaid
Services (CMS) (this term includes any related agency representing Medicare’s interests)
determines that Medicare has an interest in the payment to Maldonado under this settlement,
Maldonado ugrees to (i) indemnify. defend and hold Releasecs harmless from any action by

CMS relating to medical expenses of Maldonado, (ii) reasonably cooperate with Releasees upon

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request with respect to any information needed to satisfy the reporting requirements under
Section 111 of the Medicare, Medicaid, and SCIP Extension Act of 2007, if applicable. and
any claim that the CMS may make and lor which Maldonado is required to indemnify Releasees
under this parayraph, and (iii) waive any and all future actions against Releasees for any private
cause of action for damages pursuant to 42 U.S.C. § 1395y(b)(3)(A).

3. SETTLEMENT SUMMARY.

7 a if the parties receive an Order from the Court approving this settlement
and dismissing this case, with prejudice, then. within 10 days of the latter of the Court’s
dismissal, Defendant will pay to Plainuiff the total sum of $3,000.00 paid as described below:

e $250.00, made payable to JUAN MALDONADO, as and for overtime
compensation allegedly due JUAN MALDONADO pursuant to the FLSA;
which amount shall be subject to deductions or withbolding and for which an
IRS Form W-2 shall issue to JUAN MALDONADO;

6 $250.00, made payable to JUAN MALDONADO, as and for liquidated
damages allegedly due JUAN MALDONADO pursuant to the FLSA, which
amount shall not be subject to deductions or withholding and for which an [RS

Form 1099 shall issuc to JUAN MALDONADO; and

e $2,500.00, made payable to MORGAN & MORGAN, P.A., as attomeys’ [ees
and costs incurred in connection wih JUAN MALDONADO’S claims under
the FLSA and for which separate IRS Forms 1099 shall issuc to MORGAN &
MORGAN, P.A. and JUAN MALDONADO.

Plaintiff understands and acknowledges that he would not receive the payments specified
in this paragraph, except for his exceution of this Agreement, including the Release of FLSA
claims contained herein, and his fulfilumcut of the promises contained hercin,

b. Defendant makes no representation as to the taxability of the amounts paid
to Plaintiff, Plaintiff agrees to pay federal or state taxes, if any, which are required by law to be

paid by him with respect to this settlement. Morcover, Plaintiff agrees to indemnify Defendant

and hold Defendant harmless from any interest, taxes or penaltics assessed against it by any

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governmental agency as a resull of the non-payment of taxes on any amounts paid to Plaintiff or

his attcomey under the toms of this Agreement.

4. | AFFIRMATIONS. Plaintiff affirms that, upon payment of the amounts set forth
hercin, he will have been paid and/or will have received all wages, overtime compensation and

liquidated damages. He also affinns that he has been paid and/or will have received pursuant to
the payment herein, all attorneys’ fees and custs in connection with this action.

5: NO ADMISSION. Neither this Agreement nor the furnishing of the
consideration for this Agreement shall be deemed or construed at any time for any purpose as au
admission by the Rclcasves of any liability, unlawful conduct of any kind or violation by the
Releasees.

6. OPPORTUNITY TO REVIEW, Plaintiff acknowledges that he is aware that be
is giving up all FLSA claims he may have aguinst the Releasces. PlaintitT acknowledges that he
has been advised in writing to consult with an attomey, has had the opportunity to seek legal
advice before executing this Agreement, and, in fact, sought Icgal advice from his counsel,
Kimberly De Arcangelis of Morgan & Morgan, before executing this Agreement. Plaintiff signs
this Agreement voluntarily.

7. WAIVER OF JURY TRIAL. Plaintiff and Defendant hereby knowingly.
voluntarily, and intentionally waive any right to a jury trial with respect to any claims for breach
of this Agreement,

8. SEVERABILITY. Except as set forth below, should any provision of this
Agreement set forth herein be declared illegal or unenforceable by any court of competent

jurisdiction, such that it cannot be modified to be enforceable, excluding the release language,
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such provision shall immediately became null and void, leaving the remainder of this Agreement
in full foree and effect.

9. VENUE AND GOVERNING LAW. This Agrcement shall be governed by the
laws of the State of Florida without regard to its conflict of laws provisions. In the event of any
action arisiny hereunder, venue shall be proper in the United States District Court in and for the
Middle District of Florida, Orlando Division.

10. ENTIRE AGREEMENT. This Agreement sets forth the entire agreement
berween Plaintiff and Defendant as to settlement of the Plaintiff's FLSA claims asserted in this
case. Plaintiff acknowledges that he has not rclicd on any representations, promises. or
agreements af any kind made to him in connection with his decision to sign this Agreement,
except thosc set forth in this Agreement.

il. AMENDMENTS. This Agrecment may not be amended, modified, altered, or
changed, except by a written agreement which is both signed by all parties and which makes
specific reference to this Agreement.

12. EXECUTION IN COUNTERPARTS. This Agreement may be executed in any

 

number of counterparts, each of which when exccuted and delivered shall be considered an
original. All the counterparts together shall constitute onc and the same instrument.

13. THE SIGNATORIES HAVE CAREFULLY READ THIS ENTIRE
SETTLEMENT AGREEMENT AND RELEASE OF FLSA CLAIMS. THE PARTIES
HAVE BEEN REPRESENTED BY COUNSEL THROUGHOUT THE NEGOTIATION
OF THIS AGREEMENT AND HAVE CONSULTED WITH THEIR ATTORNEYS
BEFORE SIGNING THIS AGREEMENT. THE PARTIES FULLY UNDERSTAND THE

FINAL AND BINDING EFFECT OF THIS AGREEMENT. THE ONLY PROMISES OR
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REPRESENTATIONS MADE TO ANY SIGNATORY ABOUT THIS AGREEMENT
ARE CONTAINED IN THIS AGREEMENT.

HAVING ELECTED TO EXECUTE THIS SETTLEMENT AGREEMENT AND
RELEASE OF FLSA CLAIMS, TO FULFILL THE PROMISES SET FORTH HEREIN,
AND TO RECEIVE THEREBY THE SETTLEMENT SUM AND BENEFITS SET
FORTH IN PARAGRAPH 3 ABOVE, PLAINTIFF FREELY AND KNOWINGLY AND
AFTER DUE CONSIDERATION, ENTERS INTO THIS SETTLEMENT AGREEMENT
AND RELEASE OF FLSA CLAIMS INTENDING TO WAIVE, SETTLE AND RELEASE
ALI. WAGE AND HOUR CLAIMS PLAINTIFF HAS OR MIGHT HAVE AGAINST
RELEASEES.

THE PARTIES ARE SIGNING THIS AGREEMENT VOLUNTARILY
AND KNOWINGLY.

s —_ ZA,
Dated: Ma tch 25 _.2019 Ln Nt heconch

‘SUAN MALDONADO

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on We one 32S | ( 4

Witness

 

pao,

Dated: © 2.f 2019
GOLBEDSAJ, LLC

Name: Reclewsarr w®&

Title: ? Beth Crs] low Sx. ,

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